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                 EXHIBIT 3
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c12)   United States Patent                                                 (IO)   Patent No.:     US 10,510,111 B2
       Eraker et al.                                                        (45)   Date of Patent:      Dec. 17, 2019

(54)   IMAGE-BASED RENDERING OF REAL                                    (56)                      References Cited
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(72)   Inventors: David Eraker, Seattle, WA (US);
                  Aravind Kalaiah, San Jose, CA (US);
                                                                                      FOREIGN PATENT DOCUMENTS
                  Robert McGarty, Seattle, WA (US)
                                                                       CA                   2587644             1/2015
(73)   Assignee: Appliance Computing III, Inc.,                        CN                   1242851             1/2000
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( *)   Notice:        Subject to any disclaimer, the term ofthis
                                                                                            OTHER PUBLICATIONS
                      patent is extended or adjusted under 35
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                                                                                                      (Continued)
(21)   Appl. No.: 16/130,555

(22)   Filed:         Sep. 13, 2018                                    Primary Examiner - Frank S Chen
                                                                       (74) Attorney, Agent, or Firm - Ellen M. Bierman; Lowe
(65)                    Prior Publication Data
                                                                       Graham Jones PLLC
       US 2019/0012833 Al             Jan. 10, 2019

                Related U.S. Application Data                           (57)                         ABSTRACT

(63)   Continuation of application No. 15/832,653, filed on            Under an embodiment of the invention, an image capturing
       Dec. 5, 2017, now Pat. No. 10,102,673, which is a               and processing system creates 3D image-based rendering
                        (Continued)                                    (IBR) for real estate. The system provides image-based
                                                                       rendering of real property, the computer system including a
(51)   Int. Cl.                                                        user interface for visually presenting an image-based ren-
       G06Q 30/06                (2012.01)                             dering of a real property to a user; and a processor to obtain
       G06T 19100                (2011.01)                             two or more photorealistic viewpoints from ground truth
                           (Continued)                                 image data capture locations; combine and process two or
(52)   U.S. Cl.                                                        more instances of ground truth image data to create a
                                                                       plurality of synthesized viewpoints; and visually present a
       CPC ..... G06Q 30/0643 (2013.01); G06F 3/04815
                                                                       viewpoint in a virtual model of the real property on the user
                      (2013.01); G06F 3/04842 (2013.01);
                                                                       interface, the virtual model including photorealistic view-
                        (Continued)                                    points and synthesized viewpoints.
(58)   Field of Classification Search
       None
       See application file for complete search history.                                  23 Claims, 8 Drawing Sheets

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(52)   U.S. Cl.
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          Figure 8                                                      Blended/Selected
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       IMAGE-BASED RENDERING OF REAL                                 photographs are taken by the real estate agent or homeowner
                   SPACES                                            and are intended to highlight the positive attributes of the
                                                                     property while minimizing any negative attributes. The
    This application is a continuation of U.S. patent applica-       photo galleries are usually navigated linearly, by proceeding
tion Ser. No. 15/832,653, filed Dec. 5, 2017, which is a 5           from one two-dimensional photograph to the next. Lastly,
continuation of U.S. patent application Ser. No. 14/525,057,         the viewer is restricted to the viewpoint of the available
filed Oct. 27, 2014, now U.S. Pat. No. 9,836,885, issued on          photographs. To get a different viewpoint, the buyer must
Dec. 5, 2017, which claims the benefit of U.S. Provisional           visit the property in person.
Patent Application No. 61/895,978, filed Oct. 25, 2013, and             Potential home buyers suffer from a lack of real estate
titled "Image Based Rendering". This application is related 10       information and tools. Many real estate brokerage websites
to U.S. patent application Ser. No. 14/525,052, filed Oct. 27,       provide some photographs of the properties in their listings.
2014, entitled "USER INTERFACE FOR IMAGE-BASED                       However, these websites remain surprisingly poor at pro-
RENDERING OF VIRTUAL TOURS", U.S. patent appli-                      viding comprehensive visual and spatial information about
cation Ser. No. 14/525,059, filed Oct. 27, 2014, entitled            properties.
"IMAGE-BASED RENDERING OF VIRTUAL MODELS 15                             There is a need for a system that overcomes limitations of
OF REAL SPACES", and U.S. patent application Ser. No.                the current methods of creating virtual models of real
14/525,060, filed Oct. 27, 2014, entitled "IMAGE-BASED               properties, as well as providing additional benefits.
RENDERING OF THREE DIMENSION GEOMETRIES",
commonly assigned. The above U.S. patent applications are                                    SUMMARY
fully incorporated herein by reference.                        20
                                                                        A brief summary of some embodiments and aspects of the
                   TECHNICAL FIELD                                   invention are first presented. Some simplifications and omis-
                                                                     sions may be made in the following summary; the summary
   This disclosure relates generally to methods and systems          is intended to highlight and introduce some aspects of the
for image-based rendering and, more particularly, relates to    25   disclosed embodiments, but not to limit the scope of the
the creation and rendering of three dimensional geometry             invention. Thereafter, a detailed description of illustrated
combined with images of real world scenes.                           embodiments is presented, which will permit one skilled in
                                                                     the relevant art to make and use aspects of the invention.
                     BACKGROUND                                      One skilled in the relevant art can obtain a full appreciation
                                                                30   of aspects of the invention from the subsequent detailed
   Real estate websites typically have a description of the          description, read together with the Figures, and from the
real estate listed for sale on the website. The description          claims (which follow the detailed description).
often includes pictures of the real estate in addition to a             In one embodiment of the invention, a three dimensional
written description of the property. Photographs of the              model of a real scene is constructed from image data such as
property are helpful and an improvement over a text descrip-    35   spherical panoramic photos, according to a plurality of
tion. However, without physically visiting the property to           image-based rendering (IBR) algorithms. Rather than use
look at it, the property can only be seen from the viewpoint         one image-based rendering algorithm throughout the three
of the photographer and lack spatial navigation. So photo-           dimensional model, the location of the viewpoint in the three
graphs, while helpful, have not eliminated the need to               dimensional model may be a factor in choosing among
physically go to the property and understand how it is laid     40   several image based rendering algorithms. Viewpoint loca-
out.                                                                 tions having real image data will result in photorealistic or
   Some real estate websites have posted video tours of their        near photorealistic panoramas. At viewpoint locations that
listed properties, which can be even more helpful than               do not have real image data, image-based rendering methods
photographs. Often these videos are created by a realtor or          are used to generate geometric proxies that are combined
home-owner who walks through the home while recording           45   with nearby image data, thus rendering synthetic views. In
with a video camera. The quality of those videos is generally        some embodiments, which image-based rendering algorithm
not good, so some realtors will use professional videogra-           is used to render the synthetic views depends on the density
phers to create a more polished and professional video.              of the data that is collected, the camera geometry, charac-
Unfortunately, videos are likewise limited in the sense that         teristics of the real scene, and so on.
the viewer can only see the property from the viewpoint of      50      In one embodiment of the invention, a computer system
the videographer. Also, the viewer does not have the ability         provides image-based rendering of real property, the com-
to tour the property on his own route because the videos             puter system including a user interface for visually present-
have a predetermined path through the house.                         ing an image-based rendering of a real property to a user;
   In an attempt to allow the viewer to have more control            and a processor to (i) obtain two or more photorealistic
over what he can observe, some real estate websites have        55   viewpoints from ground truth image data capture locations;
used panorama cameras to take panoramic photos of the                (ii) combine and process two or more instances of ground
properties. This has the advantage that, from the location at        truth image data to create a plurality of synthesized view-
which the panorama was taken, the viewer can "rotate" his            points; and (iii) visually present a viewpoint in a virtual
viewpoint, thus observing the entire panoramic photo. These          model of the real property on the user interface, the virtual
panoramas have the advantage that they give a more "in-         60   model including photorealistic viewpoints and synthesized
person" feel to looking at the property than traditional             viewpoints.
photos or videos. However, the location of the viewpoint is             In one embodiment of the invention, a method obtains two
still restricted to the location at which the panorama photo         or more photorealistic viewpoints of a real space from
was taken.                                                           ground truth image data capture locations of the real space,
   From the buyer's perspective, real estate websites suffer    65   generates a plurality of synthesized viewpoints by combin-
from numerous problems at present. First among these is the          ing and processing two or more instances of the obtained
typical gallery of photographs of the property. Usually, the         ground truth image data, and presents, via a user interface,
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a viewpoint in a virtual model of the real space, the virtual          vide a capability to tour a real property without physically
model including photorealistic viewpoints and synthesized              visiting the property, to buy/sell/rent/lease/book the prop-
viewpoints of the real space.                                          erty, to store and share portions of virtual tours, and to search
   Under an embodiment of the invention, a website system              for objects to purchase from merchants. In some embodi-
maintains a real estate web page. The real estate web page        5    ments, the system displays information on the web page but
facilitates three-dimensional (3D) image-based rendering               other delivery methods can be used (such as streaming video
virtual tours of real properties through a unique user inter-          or email).
face that provides multiple viewpoints and tour navigation                Embodiments of the invention include numerous innova-
tools. The website system facilitates virtual tours of real            tive informational, analytical, and collaborative tools.
estate, such as homes, that are offered for sale via the          10      Some embodiments of the user interface provide valuable
website system. The website system can store various infor-            data that is aggregated from system user trends. Thus
mation about properties in which the user is interested and            property sellers can see how many system users have viewed
facilitate sharing of information with a real estate agent or          their virtual property, what areas of the virtual tour were
other service provider (e.g., a local merchant).                       most interesting to the viewers, and so on. On an individual
                                                                  15   level, this "backend" data can also be used for targeted
      BRIEF DESCRIPTION OF THE DRAWINGS                                advertising. For example, if a visitor to the virtual property
                                                                       is viewing the kitchen, the website system might show an
   FIG. 1 shows a block diagram of an embodiment of a                  advertisement for an appliance store from which the refrig-
computer system suitable for use with the disclosed inven-             erator in the virtual kitchen may be purchased. Similarly, the
tions.                                                            20   system might show an advertisement for a furniture store
   FIG. 2 shows a block diagram of a system for providing              that specializes in furniture in a style similar to that in which
an image-based rendering of a real property according to one           the virtual property is decorated. The web site system may
embodiment of the invention.                                           have metadata on objects in the 3D virtual model. The object
   FIG. 3 shows a high level flow chart of the process of              metadata may be used to more closely match advertisers and
image-based rendering according to one embodiment of the          25   advertisements to viewed content. For example, if a viewer
invention.                                                             looks at an object from several viewpoints, the type of the
   FIG. 4 shows a user interface for presenting image-based            object (e.g., cooktop) and its associated metadata (e.g.,
rendering or real property according to one embodiment of              Viking, 4-bumer, embodiments of the system can automati-
the invention.                                                         cally recognize that a particular object having metadata, in
   FIG. 5 shows a flow chart of a method of image-based           30   this case the stovetop, that remains in the viewpoint can be
rendering for real estate according to one embodiment of the           used to trigger a targeted advertising system by correlating
invention.                                                             the object to an advertiser who sells the object or other
   FIG. 6 shows a flow chart of a method of capturing and              products related to the object. Demographics and other data
processing image data according to one embodiment of the               about the viewer may also be used in advertisement selec-
invention.                                                        35   tion. The advertisements may be predetermined or an adver-
   FIG. 7 shows a data capture map according to one                    tisement opportunity may be auctioned on-the-fly to a pool
embodiment of the invention.                                           of advertisers who will bid for the opportunity to present an
   FIG. 8 shows a flow chart of a method of image-based                advertisement in the available advertisement location.
rendering according to one embodiment of the invention.                   In some embodiments, the system includes mechanisms
   The headings provided herein are for convenience only          40   for collaboration between various users of the system.
and do not necessarily affect the scope or meaning of the              Shared access to select user account information and a
claimed invention.                                                     messaging system allow users to share their "favorites"
   In the drawings, the same reference numbers and acro-               folder with their real estate agents, leave comments and
nyms identify elements or acts with the same or similar                questions for home sellers, receive "suggested" property
functionality for ease of understanding and convenience. To       45   tours in the users "suggested" folder, and append comments
easily identify the discussion of any particular element or            or notes that will be visible to the user.
act, the most significant digit or digits in a reference number        Example Computing Environment for Image-Based Render-
generally refers to the Figure number in which that element            ing of Real Spaces
is first introduced (e.g., element 110 is first introduced and            FIG. 8 shows a block diagram of an exemplary embodi-
discussed with respect to FIG. 1).                                50   ment of a system to implement the methods of image-based
                                                                       rendering for real estate and other real scenes disclosed
                DETAILED DESCRIPTION                                   herein. A user may access the virtual model via a user
                                                                       interface provided over the Internet 106 via a real estate
   The following description provides specific details for a           webpage 110 or streamed media hosted on a remote server
thorough understanding of, and enabling description for,          55   108. Alternatively, the user interface may be hosted locally
these embodiments of the invention. However, a person of               on smartphone 102 or mobile computer 104, either as a
ordinary skill in the art will understand that the invention           standalone application or cached media. When the user
may be practiced with many variations and these details do             selects a viewpoint location in the virtual model of a real
not list every possible variation. In some instances, well             property, a rendering engine, which may be hosted on the
known structures and functions have not been shown or             60   server computer 108, will retrieve processed image data
described in detail to avoid unnecessarily obscuring the               from database 112. The rendering engine will then render the
description of the embodiments of the invention.                       requested viewpoint. In the embodiment shown, the server
Overview                                                               computer 108 will then provide requested 3D rendering to
   In some embodiments of the invention, a website imple-              the user via real estate web page 110 and the user interface.
mented in a computer system allows users to navigate a            65      FIG. 2 shows an exemplary computing environment 200
virtual tour of a real property. Among its many uses                   for implementing various aspects of the disclosed inven-
described herein, embodiments of the website system pro-               tions. The computing environment 200 includes a computer
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202, the computer 202 including a processing unit 204, a                 As shown in FIG. 2, the computer 202 may operate in a
system memory 206 and a system bus 208. The system bus                networked environment using logical connections via wired
208 couples system components including, but not limited              and/or wireless communications to one or more remote
to, the system memory 206 to the processing unit 204. The             computers, such as a remote computer(s) 248. The remote
processing unit 204 may be any of various commercially           5    computer(s) 248 may be a workstation, a server computer, a
available processors. Dual microprocessors and other multi-           router, a personal computer, portable computer, micropro-
processor architectures may also be employed as the pro-              cessor-based entertainment appliance, a peer device or other
cessing unit 204.                                                     common network node, and typically includes many or all of
   The system bus 208 can be any of several types of bus              the elements described relative to the computer 202,
structure that may further interconnect to a memory bus          10   although, for purposes of brevity, only a memory storage
(with or without a memory controller), a peripheral bus, and          device 250 is illustrated. The logical connections depicted
a local bus using any of a variety of commercially available          include a local area network (LAN) 252 and a wireless local
bus architectures. The system memory 206 includes read                area network (WLAN) 254. Such networking environments
only memory (ROM) 210 and random access memory                        are commonplace in homes and businesses. The Internet can
(RAM) 212. A basic input/output system (BIOS) is stored in       15   also be used to provide access to remote computer 248.
a non-volatile memory 210 such as ROM, EPROM, or                         When used in a LAN networking environment, the com-
EEPROM. A BIOS contains the basic routines that help to               puter 202 is connected to the local network 252 through a
transfer information between elements within the computer             wired or wireless communication network interface or
202, such as during start-up.                                         adapter 256. The network adaptor 256 may facilitate wired
   The computer 202 further includes a hard disk drive 214.      20   or wireless communication to the LAN 252. When used in
The hard disk drive 214 can be connected to the system bus            a WLAN networking environment, the computer 202 typi-
208 by a hard disk drive interface 216. The removable                 cally is connected to a communications server on the LAN,
storage drives (DVD drives, floppy drives, etc.) are not              or has other means for establishing communications over the
shown for clarity. However, the removable storage drives              WLAN 254, such as the Internet. In a networked environ-
and their associated computer-readable media provide non-        25   ment, program modules depicted relative to the computer
volatile storage of data, data structures, and computer-              202, or portions thereof, may be stored in the remote
executable instructions for implementing the inventions               memory storage device 250. The network connections
described herein. For the computer 202, the drives and                shown are exemplary and other means of establishing a
media accommodate the storage of information input by a               communications link between the computers may be used.
user, or received from a remote computer, in a suitable          30      The computer 202 is operable to communicate with any
digital format. Although the description of computer-read-            other devices having wireless communication capability,
able media above refers to a hard disk, a removable mag-              e.g., a cell phone, a printer, desktop and/or portable com-
netic disk, and a DVD, a person of ordinary skill in the art          puter, portable data assistant, and telephone. As discussed
understands that other types of storage media which are               briefly above, suitable wireless technologies may include,
readable by a computer, such as zip drives, magnetic cas-        35   but are not limited to, cellular, WLAN (e.g., IEEE 802.11),
settes, flash memory cards, digital video disks, cartridges,          IEEE 802.16, IEEE 802.20, and Bluetooth.
and the like, may also be used in the exemplary operating                IEEE 802.11, also commonly known as "Wifi", is a
environment, and further that any such media may contain              wireless communication protocol that enables computers to
computer-executable instructions for performing the meth-             send and receive data anywhere within the range of a base
ods of the present invention.                                    40   station. A WLAN can be used to connect computers to each
   Software applications can be stored in the drives and              other, to the Internet, and to wired networks (which may use
RAM 212. These applications can include an operating                  IEEE 802.3 or Ethernet communication protocols).
system 230, one or more application programs 232, (e.g.,              Examples of Image-Based Rendering of Real Scenes
web browsers and client applications, etc.) other program                FIG. 3 shows a high level flow chart 300 of the three
modules 234 (e.g., cookies, etc.) and program data 236. All      45   primary steps in image-based rendering for real estate. In
or portions of the operating system, applications, modules,           step 301, image data is captured. Image data may be
and/or data can also be cached in the RAM 212.                        captured by smartphones or other mobile devices, video
   Embodiments of the invention can be implemented with               cameras, digital SLR cameras, specialized cameras (e.g.,
various commercially available operating systems or com-              other cameras that take spherical panoramic images), etc.
binations of operating systems.                                  50   Additional geometry data about a real scene may also be
   A user can enter commands and information into the                 captured from laser range scanners, infrared structure light,
computer 202 through a keyboard 244 and a pointing device,            or other data collection. In step 302, the captured image data
such as a mouse 242. For example, the user might employ               is processed to create panoramas, determine camera geom-
the mouse to navigate a virtual tour user interface, as               etry, and 3D reconstruction algorithms are employed to
described herein. Other input devices (not shown) may            55   generate dense representations of a 3D model, geometric
include a microphone, an IR remote control, a joystick, a             proxies, parcel maps and floor plans. In step 303, one or
game pad, similar devices. These and other input devices are          more rendering algorithms are applied to the data and 3D
often connected to the processing unit 204 through a serial           model to render a 3D view of the real estate property.
port interface 240 that is coupled to the system bus 208, but            FIG. 4 shows an embodiment of a User Interface System
may be connected by other interfaces, such as a parallel port,   60   400 for image-based rendering of real estate. Three different
a game port, a universal serial bus ("USB"), an IR interface,         user interface elements serve the dual purposes of informing
a wireless transceiver 258, etc. A monitor 220 or other type          the user of his location in the model and simultaneously
of display device is also connected to the system bus 208 via         enabling spatial navigation. These three elements are shown
an interface, such as a video adapter 218. In addition to the         in the user interface (400) embodiment of FIG. 4, which
display 220, a computer typically includes other peripheral      65   would normally be contained within a browser window,
output devices (not shown), such as speakers, printers, etc.,         within a framed client application, or as the entire screen
that can present information to the user.                             during full screen mode. User Interface element 402 is the
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viewpoint within a virtual model generated by combining               associated with a particular capture location, and optionally
geometry and image data using Image-Based Rendering                   may include any metadata associated with the captured
(IBR), thus creating a 3-dimensional (3D) view. UI element            image, such as GPS coordinates, IR point clouds, etc.
404 is a two-dimensional (2D) map overlay that displays the           Ground truth data may also include labels (outside: back-
relative location in the virtual model of the current view-      5    yard, or groundfloor: bathroom) which are ground truth in
point 406 shown in UI element 402. UI element 408 is a text           the sense that they are directly collected at the scene and are
overlay that displays one or more labels associated with the          not synthetic approximations. For example, when a user is
user's location within the virtual model.                             near a position where ground truth image data is captured,
   FIG. 4 shows the three primary user interface elements of          very little geometry is required to render the most photore-
an embodiment of the navigation tool for image-based             10   alistic view of the model. At the exact position of capture,
renderings of real estate. UI element 402 shows a rendering           the use of an image primitive is the most photorealistic view
of the model from a specific viewpoint position and also              possible.
serves as a means to navigate to adjacent positions and to               Composited image primitives such as a spherical pan-
change the viewing vector from a fixed position. Navigation           orama enable 2 DOF rotational navigation. When translating
can occur using various well known input/output (IO)             15   directly between two spherical panorama locations, other
devices, such as a keyboard, touchscreen, eye-tracking tech-          algorithms such as optical flow may provide more photore-
nology, gesture recognition technology, or a computer                 alistic warping during the rendering of predetermined trans-
mouse. For densely sampled spherical panoramas, one                   lational pathways defined in the connectivity graph. When
example of navigation using UI element 402 with a mouse               translating between other locations within the virtual model,
would be to click on the rendered view to translate in the XY    20   the use ofVDTM over explicit geometric proxies combined
plane to another panorama location in the model. Another              with depth and feature matching between nearby panoramas
example of navigation using UI element 402 would be to                during rendering provides a decrease in photorealism but
click and hold the mouse button, enabling rotation about the          enables fluid movement to any spatial location.
Z axis, thus "looking around" without translating in the XY              In contrast to traditional texture maps, VDTMs compute
plane. As the user navigates, the rendered viewpoint shown       25   new textures for different spatial positions, dynamically
in UI element 402 changes in real time based on a new                 changing these as the user's spatial position changes. This
position and viewing vector associated with the new loca-             dramatically reduces artifacts associated with appearance of
tion.                                                                 objects. In various embodiments, rendering may use RGB
   Many parts of the User Interface System 400 work                   spherical panoramas, point clouds, geometric proxies, view
together to create a unique user experience for touring a real   30   dependent texture mapping, and feature matching between
estate environment over the Internet-in particular the 3D             the spherical panoramas and geometric proxies to create a
view rendered in UI element 402 warrants further discus-              fluid user experience involving multiple IBR algorithms that
sion. In the 3D view of UI element 402, multiple IBR                  dynamically change based on the user's location, direction,
algorithms can be combined to create a user experience that           and speed of movement within the model. A user can view
overcomes the inherent tradeoff between photorealism and         35   ground truth image data or navigate to any other synthetic
spatial navigation caused by using just one IBR algorithm             viewpoint in the same user interface, enjoying both photo-
exclusively. For example, dense spherical panoramas may               realism and spatial navigation.
be combined with the use of view dependent texture map-                  FIG. 5 shows an embodiment of a computer-implemented
ping (VDTM) during navigation as the user spatially trans-            image-based rendering (100) for providing a three-dimen-
lates and rotates the viewpoint with the virtual model.          40   sional (3D) virtual model of a real property according to
   The capture process (defining a spatial boundary, data             various aspects of the disclosed innovations.
sampling, and annotation) for an enhanced user experience                In step 502, the system creates or generates the spatial
involves a dense sampling of spherical panorama image data            boundaries in a model of the property that define the land
at multiple exposures (e.g., high definition rendering, HDR)          (perhaps a parcel outline), structure (e.g., house, apartment,
and sampling of point cloud geometry from a hybrid camera        45   office, etc.), structure internals (e.g., bedrooms, kitchens,
and laser range scanning device. The processing pipeline              hallways, etc.) and/or air-space above the land (e.g., via
(determining data sets, image calibration, image processing,          quadcopter or pole-based data capture of aerial views).
3D reconstruction (3DR) and scene understanding) operates                In step 504, RGB image data is captured from each of the
on the data output from the capture process. Image calibra-           defined spatial boundaries. The captured RGB data may be
tion involves determining panorama pose and adding depth         50   annotated, during or after capture, according to the spatial
to each pixel of the panorama.                                        boundaries or other factors. The use of computational pho-
   Image processing creates HDR spherical panoramas from              tography approaches such as High Dynamic Range (HDR)
input images. 3D reconstruction involves removing noise               can greatly decrease the amount of work spent during the
from point clouds, reconstructing a real estate environment's         RGB capture stage because special lighting of the scene is
geometry to varying degrees of approximation, generating         55   not necessary. HDR captures the same image at multiple
geometric proxies that describe the environment with sim-             exposure levels and combines them with post-processing so
pler meta primitives, feature matching between spherical              that an appropriate exposure level is applied to each area in
panoramas, positioning of spherical panorama data in 3D               the captured scene. In some embodiments, the use of HDR
space, feature matching between the panorama and 3D                   techniques allows for automatic adjustment for image expo-
space, and computing view dependent texture maps for the         60   sure levels by selection of appropriate light levels for each
geometry and/or geometric proxies.                                    pixel in the HDR images.
   Rendering displays the processed data to an end-user via              In step 506, panorama images are created from the RGB
an IO device. During rendering, the user's position and               image data. In an alternative embodiment, High Dynamic
navigation influence which elements of geometry and image             Range (HDR) panoramas can be constructed by processing
data are combined for a given Image-Based Rendering              65   multiple overlapping input images having varying exposures
algorithm at any possible location in or around the virtual           to create composite higher contrast images that are optimally
model. Ground truth image data is the captured image                  exposed.
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   In step 508, the camera geometry is determined by use of              labels for different locations which map to the 3D model). In
first pass feature detection within the panoramas in order to            this way, the system can calculate and present a viewer with
spatially calibrate the panoramas. The spatial boundary                  images of a real property in 3D, 2D, and ID.
definitions may be used to group panoramas so that camera                   FIG. 6 provides a detailed block diagram of an embodi-
geometry is only found between line-of-site panoramas. A            5    ment of a method of processing image data and associated
spherical panorama bundle adjustment heuristic can be used               data according to one or more of the disclosed innovations.
to group the panoramas. The bundle adjustment heuristic                     In step 601, input images are collected. The input images
may be initialized with metadata such as GPS or wifi                     can come from various sources such as mobile devices (e.g.,
positioning coordinates associated with a sample capture                 smartphones), point-and-shoot cameras, GoPros on a rig,
location, gyroscopic or inertial data, or other spatial infor-      10   and specialty cameras systems such as LadyBug5 from Point
mation.                                                                  Grey. The input images can be shot with a tripod, or by
   In step 510, a second pass feature detection algorithm is             holding the device in hand or on top of other devices such
applied to generate a dense representation of the 3D model               as drones, robots or other kinds of automated, semi-auto-
geometry (e.g., high level features such as planes, lines,               mated, or remote controlled devices. The output of such
floors, etc.) or individual 3D points which can create a dense      15   source devices is RGB information that may be stored on the
point cloud. Note that any other geometric data collected                local devices, streamed to nearby devices in real-time or in
from the scene such as with a laser range scanner, infrared              regular intervals, or transmitted to a remote storage device
based depth maps (e.g., such as from a Microsoft Kinect), or             such as a server computer. The streaming of such RGB data
other manual approaches can increase the accuracy of the                 can happen over WiFi or via wired communication charmels
geometry but are not required in the disclosed system. Some         20   such as high-speed USB links. The input image data can be
embodiments of the system work with images and do not use                collected as singular shots, burst mode pictures, or as a
other geometric data.                                                    video. The RGB input capture may be coordinated with
   In step 512, the geometry is converted into the correct               capture of depth data (e.g., step 611) in time or location.
geometric proxy based on the density of the data sampled                    The relative configuration between the locations of the
during capture. The correct proxy is the one that can be            25   RGB capture device and the depth capture device may be
combined with image data to create the most photorealistic               known in advance (rigid spatio-structural configuration) or it
synthetic viewpoint. The proxy is chosen from among                      may be unconstrained (in which case their relative extrinsics
various image-based rendering techniques such as view-                   will be approximated using computer vision techniques). In
dependent geometry, texture-mapped models, 3D warping,                   various embodiments, the input data may be captured by
view-dependent texture, view morphing, view interpolation,          30   trained professional operators or by untrained consumers.
mosaicking, concentric mosaics, light field, lumigraph, opti-            Other data inputs can include GPS coordinates, indoor GPS
cal flow, stitching, rectification, color interpolation, blend-          coordinates, and approximate positions marked by a human
ing, fall-off correction, etc., depending on tradeoffs between           operator on a floor plan. Additionally, in an alternative
photorealism, desired amount of spatial navigation for the               embodiment, a human operator can associate metadata such
viewer (i.e., how much can the viewer vary the viewpoint),          35   as tags with each image to represent the home, floor or room
and the degree of data sampling.                                         of the panorama (e.g., 615).
   IBR algorithms generally differ based on a variety of                    In step 602, the input images are processed using tech-
factors, including, but not limited to, the type of geometric            niques such as white balancing, noise reduction, image
proxy employed in rendering; the density of sampling that                stabilization, super-resolution, tone-mapping or other
takes place during data capture; the types of devices and           40   dynamic range compression techniques. Image processing
sensors used in data capture; or the degree of spatial navi-             can occur asynchronously or could be processed in real-
gation enabled in the rendering or viewing experience. In                time. In some embodiments it is possible to partially or fully
general, more geometry enables more spatial navigation and               process the data on the capture device. In other embodi-
less dense sampling. Less geometry and more image sam-                   ments, the data may be uploaded/streamed to a remote server
pling enable higher degrees of photorealism but less spatial        45   to be processed in order to take advantage of the server's
navigation. All IBR algorithms have a trade-off between                  greater processing power.
photorealism, spatial navigation, and the degree of data                    In step 603, images whose extrinsics primarily differ by a
sampling. Also, photorealism can be increased for synthetic              rotational component may be stitched into a spherical pan-
views by use of other geometric data such as laser/infrared              orama, a cylindrical panorama or a flat mosaic. Stitching
but such geometric data is not required by the disclosed            50   these images together may be done using relative camera
innovations for suitable results.                                        extrinsics, feature matching, graph cut algorithms (e.g.,
   In step 514, the 3D data is used to generate a parcel map             Boykov), image blending, panorama weaving, and other
(e.g., the exterior and aerial views of the real estate) and             similar techniques. The stitching may be done before or after
floor plan. A 2D floor plan may be used to create a naviga-              the image processing techniques described in step 402. In
tion-enabled map of the interior of the real estate. For            55   some scenarios, such as a homeowner capturing images with
example, a 2D floor plan of the rooms of a house can be                  a smartphone, it may be difficult to detect if a set of images
automatically generated from the 3D data.                                make a panorama. In those cases, the user could be explicitly
   In step 516, the 3D data is used to generate a geometric              asked to capture images for a panorama. Alternatively,
proxy for the 3D model of the real property.                             spatio-temporal coherence in the images may be used to
   In step 518, the results are combined and a 3D scene that        60   detect panoramas.
has photorealistic views from within a panorama capture                     In step 610, embodiments of the system optionally may
location, as well as semi-photorealistic views from other                collect depth data that may be spatio-temporally coherent
locations using a geometric proxy and real image data                    with the RGB data (for example, the depth sensors could be
(image-based rendering), are rendered to a viewer (end                   very close to the RGB sensors and could be sampled at
user). In addition to the 3D views, 2D floor plans are shown        65   around the same time when the RGB sensors are sampled).
to the user as well as descriptive spatial boundary labels (i.e.,        The depth data is in addition to RGB data provided by
one dimensional or ID, such as a "list view" or a list of                camera devices and may come from different sources such
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as Infrared (IR), LASER, or structured light. The depth data    match between the edges of the panorama pairs. The weight
may be coupled with RGB data in either an open or               can be computed by estimating the reprojection error after
proprietary format. Other data inputs associated with the       the relative extrinsics have been estimated.
image data can include GPS coordinates, indoor GPS coor-           In step 606, the panorama connectivity graph (neighbor-
dinates, and approximate positions marked by a human s hood graph) constructed in step 605 may be used to estimate
operator on a floor plan of the property.                       the relative extrinsics between panoramas. This information
   In step 611, RGB data may be registered with depth data      can be used to reduce the jarring effects when transitioning
(sometimes herein referred to as RGB+D data) by using           between these panoramas in the Image Based Rendering
different heuristics such as using relative directional differ- module.
ences in the sensors (assuming the relative positions of the 10    In step 607, a spanning tree of the panorama neighbor-
sensors is insignificant) or a per-pixel registration of the    hood graph may be useful to simplify the initial extrinsics
RGB and depth sensor data can be achieved by warping the        estimation because the panorama connectivity graph is a
depth image to the perspective of the RGB sensor image and      densely connected graph. The spanning tree can optionally
computing per-pixel depth in the RGB space after process-       be constructed so that it spans strongly connected clusters of
ing the warped depths. In some embodiments, registering 15 panoramas (e.g., all the panoramas in the same room) as
RGB data with depth data may be used to interpret a pixel       opposed to spanning individual panoramas. A root is chosen
location from a particular image as a 3D ray or vector for      of this panorama spanning tree and the global extrinsic is
later use in mapping texture onto a 2-D or 3-D polygon mesh     propagated along the graph by using the relative extrinsics
or a point cloud.                                               computed between the 2 panoramas of each edge. This
   In step 612, a collection of RGB+D images may be 20 global extrinsic may be used for the initial input to the
registered together using an algorithm such as Iterative        panorama bundle adjustment process. In some embodi-
Closest Point (ICP) or other similar algorithms for reducing    ments, the initial estimates of the extrinsics may be
the difference between two clouds of points or geometric        improved by constraining the position and orientation of the
aligmnent of 3D models. Factors such as relative proximity      panoramas using spanning tree limitations.
of the depth images may be used to initialize the ICP 25           In step 608, bundle adjustment is the process of simulta-
algorithms. A globally consistent point may be obtained by      neously estimating the 3D positions of the points corre-
pamng spatio-temporally neighboring depth images                sponding to the matched features and extrinsics of the
together and progressively merging locally registered point     panoramas. Bundle adjustment attempts to minimize repro-
clouds into successively larger and more global point clouds.   jection error between the image locations of observed and
A distributed ICP algorithm may be employed to operate on 30 predicted image points (e.g., minimizing deviation from true
local point clouds independently with successively larger       image projections). A good outcome of bundle adjustment
point clouds being processed by larger individual nodes.        requires good initial estimates of the 3D point positions and
   In step 617, an optional preview mode may be used to         the camera extrinsics. The likelihood of a good outcome is
provide preliminary feedback regarding the quality of data      improved by detecting a feature in as many panoramas as
and the quality of the eventual user experience. The preview 35 possible. In other words, the higher the average number of
feature may range from previewing raw sampled RGB and           panoramas in which a feature is detected, the higher the
depth data, to previewing semi-processed images (eg.,           accuracy of the computed output. In one embodiment, a
stitched panoramas, white balanced images, etc.) to pre-        bundle adjustment formulation is implemented in which
viewing part or all of reconstructed imagery and geometry.      bundle adjustment is initially done on small clusters of
   In step 604, the panorama image results of step 603 are 40 strongly connected panoramas. This technique usually
further processed for feature mapping. Feature matching         results in good local estimates. The small cluster bundle
between panoramas is an important way to understand the         adjustments may then be merged one by one.
relative spatial relationships between panoramas. Feature          In step 609, computed global panorama extrinsics result
detection may be done using standard feature detectors such     from the bundle adjustment of step 608.
as SIFT, Harris comer detector, MSER detector, Canny edge 45       In step 613, the computed globally consistent 3D point
detector, or SURF detector. In indoor environments, feature     cloud is derived from ICP-based registration of depth sen-
detection is also useful to find higher level features such as  sored data in step 612 and/or an output of bundle adjustment
rectangles. The features may be matched using nearest           step 608.
neighbor, approximate nearest neighbor algorithms, or other        In step 614, higher level geometric proxies are fit to the
non-parametric methods used for classification and regres- so point cloud. These proxies may include line segments (ID),
sion. Additional constraints such as ratio tests or scale       curves (ID), planes (2D), rectangles (2D), triangles (2D),
invariant feature tests may be used to improve the accuracy     and 3D voxel based volumetric representations. Several
of the feature matches.                                         techniques such as noise elimination, Manhattan World
   In step 605, a panorama neighborhood graph may be            assumptions, RANSAC-based plane fitting, and Poisson
created. The feature matching information may be run on 55 surface reconstruction can be used to derive higher level
different pairs of panoramas to ascertain the spatial prox-     primitives representing the scene. Meta level representations
imity of the panoramas. A proximity graph of the panoramas      of the scene such as the floor plan can be derived by
may then be obtained by connecting panoramas that have          simplification of these primitives.
strong feature matches. Algorithms such as kd-tree nearest         In step 615, metadata may be optionally associated with
neighbor search may be used to perform fast feature match- 60 images or portions of images to identify objects (eg., oven,
ing between images. Alternatively, brute force search may       fridge, etc.), to explain a space (eg., ways to use a physical
be used, although generally less effectively. The panorama      space, etc.), to provide location information, etc. In one
neighborhood graph may be also be constructed with the          alternative embodiment, object metadata may be automati-
help of additional metadata information (e.g., room labels,     cally determined by comparing an object's 3D image with a
GPS coordinates, etc) associated with the panoramas or a 65 database of known images. A match (e.g, via comparison of
manually connected panorama graph. A weight is typically        point cloud data, image features, etc.) to a known image will
assigned to each edge to indicate the strength of the feature   result in identification of the object and the appropriate
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metadata may be imported from the database and associated             ery, etc.). Such spaces may prohibit a denser image sampling
with the newly identified object. As additional metadata, the         of the region and require synthesis of novel viewpoints, step
creator of the virtual model may identify object attributes           804, at locations from which no image data was directly
that are useful for advertisers, such as model numbers, color,        captured. As discussed in the explanation of FIG. 6, step
physical size of opening or object, similar styles, etc. Know-   5    512, choosing an algorithm for novel viewpoint synthesis is
ing the physical size of an object or the size of the opening         typically a function of tradeoffs between photorealism, the
into which it fits allows for the advertisement of potential          desired amount of the quality and density of the available
substitutes for the object. For example, knowing the size of          data, desired amount of spatial navigation for the viewer
the opening available for a refrigerator would allow the              (i.e., how much can the viewer vary the viewpoint), and the
viewer to browse potential substitutes of the correct size       10   degree of data sampling.
from an advertiser.                                                      In step 807, light field rendering involves rendering a
   In step 616, the stitched panoramas, the geometric infor-          novel viewpoint by sampling the space of lights rays in and
mation, raw captured input data, and metadata are then                around the viewpoint's vicinity and reconstructing the light
combined to achieve photo-realistic rendering using image-            field at the requested viewpoint. If the sampling around the
based rendering techniques.                                      15   requested viewpoint is dense enough or the scene is not
   FIG. 7 shows an example of a panorama capture map 700              complicated enough (e.g., most of the complex geometry is
having of a distribution of captured spherical panoramas on           very far away or there is very little RGB+D complexity in
a parcel 701 having a house 702, where each number 1-21               the vicinity of the requested view point) then the light field
represents a Data Sampling location (e.g., a location where           at the novel view point can be approximated by: 1) warping
a spherical panorama photo was taken). Note that different       20   the RGB+D of the nearby sampled images to the new view
sampling densities in different spatial boundaries, such as           point, 2) projecting the approximate depth map at the novel
dense sampling indoors 704 and sparse sampling outdoors               view point by synthetic rendering of the reconstructed
706. Details associated with the floor plan and topography            geometry, 3) Using feature matching information to register
are omitted. Two arrows shown between capture location 2              the warped and synthetic geometry with respect to each
and 14 and 11 and 20 represent doors that connect the spatial    25   other at the novel view point, 4) Run time rendering is then
boundaries in a connectivity graph. In later rendering stages,        done using a warping, blending, -based or machine-learning-
users will be able to move between the indoor and outdoor             based approach to predict the object (and hence the RGB+D
areas based on this connectivity graph. Additional details            correspondence) at every pixel of the novel viewpoint. This
associated with the topography and the interior floor plan are        requires an automated processing of the captured data to
omitted for clarity as are the actual density of the spherical   30   analyze if it lends itself to light field rendering. A2D (or 3D)
panoramas.                                                            map is determined which identifies the areas where light
   FIG. 8 shows a flowchart of an exemplary embodiment of             field rendering is permissible. This map also stores the
an image-based rendering method.                                      contributing sampled data at points in the permissible area.
   In step 801, a user may request different kinds of views as        During render time, the sampled data is then used to render
a user navigates a sampled RGB+D environment (e.g., a            35   the novel view point. If the rendering is built on machine-
virtual model of house). In some instances, the user may              learning based approaches, it may not be feasible to render
request a view from the same location at which image data             in real time using a simple computing device. In such
was captured. In other instances, the user may request a view         situations an oflline or distributed rendering infrastructure is
from a location at which no image data was captured. If the           leveraged.
user is navigating a sampled video path, for example, then       40      In step 805, view dependent texture mapping is a way to
the user may request a view from a location where a video             synthesize novel views by mapping different pre-captured/
frame was not captured. Or the user may want to jump off              synthesized texture maps on the same approximate geom-
from the sampled path.                                                etry. The resulting renderings tend to be a better viewpoint
   When a user is navigating panoramas, another type of               approximation. A 2D (or 3D) map is determined which
view that a user may request is a transition between pan-        45   identifies the areas where light field rendering is permissible.
oramas that is indicative of the physical experience of               In each such region, the visible geometry and the permis-
transitioning between the panorama capture locations in the           sible view-dependent texture maps for each polygonal ele-
real world. For example, the user may want to virtually               ment of the geometry are computed. At render-time, the right
move from the location where a panorama was captured to               texture map to use is determined for each polygon depend-
a nearby location where a different panorama was captured.       50   ing on the rendering viewpoint.
Alternatively, the user may want to get an approximate view              In step 806, pure synthetic rendering from geometric
that involves significantly stepping away from the locations          proxies involves rendering captured/reconstructed geometry
where the image data was captured. A smooth visual tran-              along with the computed texture maps.
sition between the virtual locations avoids the visual disso-            In step 808, the final rendering chosen for novel view
nance of an abrupt image change.                                 55   synthesis depends on the situational accuracy of the various
   At decision point 802, the rendering system evaluates the          rendering algorithms. The accuracy of rendering at a given
data at its disposal to aid the rendering of a requested              location can be estimated using techniques such as repro-
viewpoint. If the viewpoint has been sampled as panorama,             jection errors, average texture warp distortions, average
an image or as a video, then the rendering system can use the         distance to sampled view points, etc. Depending on the
sampled raw and/or processed sensor-captured data to ren-        60   estimated accuracy of various novel viewpoint synthesis
der the requested viewpoint in step 503. However, the                 algorithms, the estimation transitional speed of the viewer
requested viewpoint may be relatively far away from any               and the clarity of rendering expected by the user, the final
sampled viewpoint. This is quite possible in real estate              rendering algorithm may be a weighted blend of two or more
environments where the area can be very large (e.g., large            of the results of the various novel viewpoint synthesis
homes, ranches, event spaces), acquisition can be difficult      65   algorithms from steps 805, 806 and 807.
(e.g., view of the home from the top, heavy obstacles to                 Aspects of the invention described above may be stored or
accessing a region) or delicate (e.g., water ways, soft green-        distributed on computer-readable media, including magnetic
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and optically readable and removable computer discs, as               recognized that the detailed embodiments are illustrative
well as distributed electronically over the Internet or over          only and should not be taken as limiting the scope of the
other networks (including wireless networks). Those skilled           invention. Thus, we claim as our invention all such embodi-
in the relevant art will recognize that portions or embodi-           ments as may come within the scope and spirit of the
ments of the invention may also reside in a fixed element of     5    following claims and equivalents thereto.
a communication network such as a server or database,
while corresponding portions may reside on a mobile com-
                                                                         What is claimed is:
munication device, such as a laptop computer, Personal
                                                                         1. A method, comprising:
Digital Assistant ("PDA"), or mobile phone. Data structures
                                                                         receiving image data of a plurality of spaces in a real
and transmission of data particular to aspects of the inven-     10
tion are also encompassed within the scope of the invention.                estate property, the image data including a plurality of
   In accordance with the practices of persons skilled in the               images captured from a plurality of viewpoints,
art of computer programming, embodiments of the invention                   wherein each of at least some of the images correspond
are described with reference to acts and operations that are                to a respective one of a plurality of rooms of the real
performed by computer systems. Such computer-executed            15         estate property;
acts and operations may be performed by an operating                     creating a plurality of panoramas of the plurality of spaces
system (e.g., Microsoft Windows, Linux, Apple iOS,                          by processing and/or compositing the image data;
Android) or an application program. The acts and operations              defining a plurality of spatial boundaries of the plurality
include the manipulation by the CPU of electrical signals                   of spaces in the real estate property using the image
representing data bits and the maintenance of data bits at       20         data, some of the spatial boundaries delineating a
memory locations to operate the computer systems and                        volume of one or more of the plurality of spaces of one
process signals. The memory locations where data bits are                   or more rooms within the real estate property, and
maintained are physical locations that have particular elec-                wherein a defined first spatial boundary is a further
trical, magnetic, or optical properties corresponding to the                delineation within a second spatial boundary, the sec-
data bits. Although databases are shown as separate physi-       25         ond spatial boundary corresponding to a parcel outline
cal/logical entities for clarity, they may be combined and/or               of the real estate property;
aggregated to suit the physical/logical architecture of the              in response to receiving a user indication of a location
system in which they are used.
                                                                            within the real estate property, rendering a virtual
   Unless the context clearly requires otherwise, throughout
                                                                            model of a selected space of the one or more spaces
the description and the claims, the words "comprise," "com-      30
                                                                            delineated by a spatial boundary of the plurality of
prising," and the like are to be construed in an inclusive
sense as opposed to an exclusive or exhaustive sense; that is               spatial boundaries that corresponds to the indicated
to say, in the sense of"including, but not limited to." Words               location, the virtual model rendered using one or more
using the singular or plural number also include the plural or              of the plurality of panoramas created from the captured
singular number respectively. Additionally, the words            35         images that correspond to the one or more spaces
"herein," "above," "below" and words of similar import,                     delineated by the spatial boundary that corresponds to
when used in this application, shall refer to this application              the indicated location; and
as a whole and not to any particular portions of this                    causing a device to display the virtual model with a first
application. When the claims use the word "or" in reference                 label indicating a location of the selected space in the
to a list of two or more items, that word covers all of the      40         spatial boundary that corresponds to the indicated loca-
following interpretations of the word: any of the items in the              tion.
list, all of the items in the list and any combination of the            2. The method of claim 1, further comprising:
items in the list.                                                       annotating the plurality of captured images by associating
   The above detailed descriptions of embodiments of the                    the plurality of captured images with second labels
invention are not intended to be exhaustive or to limit the      45         indicating capture locations of the plurality of images
invention to the precise form disclosed above. While specific               within the plurality of defined spatial boundaries; and
embodiments of, and examples for, the invention are                      using the second labels, identifying the selected space
described above for illustrative purposes, various equivalent               where a selected viewpoint is located within the spatial
modifications are possible within the scope of the invention,               boundary that corresponds to the indicated location.
as those skilled in the relevant art will recognize. For         50      3. The method of claim 2 wherein the annotations are
example, while steps are presented in a given order, alter-           manually entered during capture, or asynchronously gener-
native embodiments may perform routines having steps in a             ated during processing of the captured image data.
different order. The teachings of the invention provided                 4. The method of claim 1, wherein the first label indicates
herein can be applied to other systems, not necessarily the           a floor level of the property.
embodiments described herein. These and other changes can        55      5. The method of claim 1, wherein the first label indicates
be made to the invention in light of the detailed description.        at least one of a indoor area and/or a outdoor area.
   These and other changes can be made to the invention in               6. The method of claim 1, wherein the first label indicates
light of the above detailed description. In general, the terms        a kitchen, a bathroom, or a bedroom.
used in the following claims should not be construed to be               7. The method of claim 1, wherein the second label
limited to the specific embodiments disclosed in the speci-      60   indicates at least one of a room in the property, an indoor
fication, unless the above detailed description explicitly            area of the property, an outdoor area of the property, or a
defines such terms. Accordingly, the actual scope of the              floor of the property.
invention encompasses the disclosed embodiments and all                  8. The method of claim 1, further comprising:
equivalent ways of practicing or implementing the invention              calibrating the plurality of panoramas using camera
under the claims.                                                65         geometry,
   In view of the many possible embodiments to which the                 wherein the camera geometry is determined by a first pass
principles of this invention may be applied, it should be                   feature detection using the plurality of images.
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  9. The method of claim 1, wherein the plurality of                      generating a geometric proxy from the point cloud, the
panoramas are grouped according to a panorama bundle                         geometric proxy including the spatial boundary with
adjustment heuristic to spatially orient the plurality of pan-               the annotated label identifying the room or floor;
oramas.                                                                   determining using the geometric proxy whether the user
   10. The method of claim 1 wherein the received image           5          indicated location corresponds to a point within the
data for one or more of the plurality of spaces in the real                  spatial boundary delineating the room or floor; and
estate property includes annotations indicating one or more               when it is determined that the user indicated location
of: sequencing information, depth data, sensor information,                  corresponds to the point within the spatial boundary
and/or labels that describe location information or informa-                 delineating the room or floor, causing the device to
                                                                  10
tion usable in processing, rendering, or real estate related                 display the virtual model with the label identifying the
transactions.                                                                room or floor.
   11. The method of claim 10 wherein the sensor informa-                 18. A method, comprising:
tion is automatically generated metadata in a form of one or              receiving image data of a plurality of spaces in a plurality
more of: GPS coordinates, wifi-location triangulation data,       15
                                                                             of rooms in a real estate property, the image data
compass readings, accelerometer data, barometric data, and/                  including a plurality of images captured from a plural-
or altimeter data.                                                           ity of viewpoints, each image corresponding to a
   12. The method of claim 1 wherein the received image                      respective one of the plurality of rooms;
data for one or more of the plurality of spaces in the real               creating a plurality of panoramas of the plurality of spaces
estate property includes geometric data, and further com-         20         by processing and/or compositing the image data;
prising:                                                                  defining a plurality of spatial boundaries of the plurality
   using the geometric data and the captured images to                       of spaces in the plurality of rooms in the real estate
      construct one or more point clouds;                                    property using the image data, each of the spatial
   using 3D reconstruction algorithms, generating one or                     boundaries delineating a volume of one or more of the
      more geometric proxies from the constructed point           25         plurality of spaces, wherein the volume delineated by a
      clouds, each geometric proxy comprising a 3D model                     first spatial boundary corresponds to a first floor of the
      with registered images and/or texture maps at associ-                  real estate property and the volume delineated by a
      ated points in the 3D model; and                                       second spatial boundary corresponds to a second floor
   in response to receiving a user indication of a second                    of the real estate property, and wherein the defined first
      location in the real estate property, determining           30         spatial boundary and second spatial boundary are fur-
      whether a panorama created from captured images that                   ther delineations within a third spatial boundary corre-
      corresponds to the second location exists;                             sponding to a parcel outline of the real estate property;
   when the panorama from captured images that corre-                     in response to receiving a user indication of a floor of the
      sponds to the second location exists, rendering a view                 real estate property, using the defined spatial boundary
      of a selected space by rendering the panorama that          35         corresponding to the indicated floor, rendering a virtual
      corresponds to the second location; and                                model of a selected space of the one or more spaces
   when the panorama from captured images that corre-                        delineated by the spatial boundary corresponding to the
      sponds to the second location does not exist, synthe-                  indicated floor using one or more of the created plu-
      sizing and rendering a 3D view using at least one of the               rality of panoramas that correspond to one or more
      geometric proxies and registered captured images and/       40         rooms located within the spatial boundary correspond-
      or texture maps that are associated with a point that                  ing to the indicated floor; and
      corresponds to the second location.                                 causing a device to display the virtual model with a first
   13. The method of claim 12, further comprising:                           label indicating a location of the selected space in one
   when the panorama from captured images that corre-                        of the generated plurality of spatial boundaries.
      sponds to the second location does not exist, using at      45      19. The method of claim 18, further comprising:
      least one of the geometric proxies to render a transition           annotating each of the plurality of captured images by
      between the panorama that corresponds to the indicated                 associating the plurality of captured images with sec-
      location and a panorama that corresponds to a third                    ond labels indicating a capture location of the image
      location.                                                              within the plurality of defined spatial boundaries; and
   14. The method of claim 12 wherein the 3D model is a           50      using the second labels, identifying the selected space
view dependent texture mapped mesh.                                          where a selected viewpoint is located within the spatial
   15. The method of claim 12 wherein the geometric data is                  boundary that corresponds to the indicated floor.
ground truth geometric data from a laser device and/or the                20. The method of claim 19 wherein the second label
geometric data is depth map data from an infrared structured           specifies a room label and wherein the first label specifies a
light device.                                                     55   floor label of the real estate property.
   16. The method of claim 12 wherein the user indication of              21. The method of claim 18, further comprising:
the location and the second location are the same.                        using the defined plurality of spatial boundaries to deter-
   17. The method of claim 1, further comprising:                            mine connectivity between the plurality of rooms and/
   defining a spatial boundary delineating a room or floor of                or floors in the real estate property, the connectivity
      the real estate property and annotating the spatial         60         defining spatial navigation options in a user interface;
      boundary with a label identifying the room or floor;                   and
   receiving image data including a plurality of images                   causing the device to display the virtual model of the
      captured from a plurality of viewpoints within the room                selected space consistent with the spatial navigation
      or floor;                                                              options.
   using the defined spatial boundary delineating the room or     65      22. The method of claim 18 wherein the receiving a user
      floor, generating a point cloud associated with the              indication of a floor of the real estate property and the
      received image data;                                             rendering a virtual model of a selected space of the one or
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                             19                                       20
more spaces delineated by the generated spatial boundary
corresponding to the indicated floor, further comprises:
  generating and displaying a floor plan corresponding to a
     portion of the real estate property; and
  receiving a user indication of navigation to a floor of the    5
     real estate property for performing a virtual tour of the
     real estate property by receiving an indication to a
     corresponding location on the floor plan; and
  rendering a virtual model of a space that corresponds to
     the indicated corresponding location on the floor plan.     10
  23. The method of claim 18 wherein the receiving the user
indication of the floor of the real estate property further
comprises:
  displaying one or more floor labels that indicate one or
     more floors of a portion of the real estate property; and   15
  receiving a user indication of navigation to a floor of the
     one or more floors of the real estate property for
     performing a virtual tour of the real estate property by
     receiving an indication to a corresponding one of the
     displayed one or more floor labels, thereby enabling        20
     navigation to a non-contiguous space within the real
     estate property.

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